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                  7
                                                               UNITED STATES DISTRICT COURT
                  8
                                                                   DISTRICT OF ARIZONA
                  9
                      Wavve Americas, Inc., a Delaware                         Case No. 2:23-cv-01819-MTL
                 10   corporation,
                                                                               PLAINTIFF’S MOTION FOR
                 11                                 Plaintiff,                 LEAVE TO SERVE DEFENDANT BY
                                                                               ALTERNATIVE MEANS
                 12                vs.
                 13   Unknown Registrant Of Kokoatv.Net;
                      Unknown Registrant Of Kokoa.Tv; And
Office Address




                 14   Unknown Registrant Of Vidground.Com,
                 15                                 Defendants.
                 16
                                   Plaintiff wavve Americas, Inc. (“wA” or “Plaintiff”), having now learned the true
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                 18   identity and location of the registrant of KOKOA.TV, KOKOATV.NET, and

                 19   VIDGROUND.COM, respectfully requests that the Court permit wA to serve the First
                 20
                      Amended Complaint (filed concurrently herewith) via email pursuant to Fed. Rule Civ.
                 21
                      Proc. 4(f)(3).
                 22

                 23                wA filed the instant lawsuit on August 30, 2023, listing the unknown registrants of

                 24   KOKOA.TV, KOKOATV.NET, and VIDGROUND.COM (the “Domain Names”) as
                 25
                      defendants. (Dkt. No. 1). In response to wA’s third-party discovery against NameCheap,
                 26
                      Inc. (“NameCheap”), the registrar responsible for the Domain Names, wA learned that
                 27

                 28   each of the Domain Names is owned by Tumi Max, an individual residing in Thailand.

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                  1   See Declaration of Kyle W. Kellar In Support of wA’s Motion for Leave to Serve
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                      Defendant by Alternative Means (“Kellar Decl.”), ¶ 2 (filed concurrently herewith). wA
                  3
                      timely filed its First Amended Complaint replacing the “doe” defendants with Tumi Max.
                  4

                  5   wA now requests that the Court permit wA to serve Defendant via email pursuant Fed.

                  6   Rule Civ. Prov. 4(f)(3) so that this lawsuit can efficiently proceed.
                  7     I.     LEGAL PRINCIPLES
                  8
                               Fed. Rule Civ. Proc. 4(f) provides that:
                  9
                                       an individual ... may be served at a place not within any judicial
                 10            district of the United States:
                 11
                               (1) by any internationally agreed means of service that is reasonably
                 12            calculated to give notice, such as those authorized by the Hague Convention
                               on the Service Abroad of Judicial and Extrajudicial Documents;
                 13            (2) if there is no internationally agreed means, or if an international
                               agreement allows but does not specify other means, by a method that is
                               reasonably calculated to give notice:
Office Address




                 14
                                       (A) as prescribed by the foreign country's law for service in that
                 15            country in an action in its courts of general jurisdiction;
                                       (B) as the foreign authority directs in response to a letter rogatory or
                 16            letter of request; or
                                       (C) unless prohibited by the foreign country's law, by:
                 17                    (i) delivering a copy of the summons and of the complaint to the
                               individual personally; or
                 18                    (ii) using any form of mail that the clerk addresses and sends to the
                               individual and that requires a signed receipt; or
                 19            (3) by other means not prohibited by international agreement, as the court
                               orders.
                 20
                               The Ninth Circuit, in Rio Properties, Inc v. Rio Intern. Interlink, 284 F.3d 1007,
                 21
                      1014 (9th Cir. 2002), stated that “as long as court-directed and not prohibited by an
                 22

                 23   international agreement, service of process ordered under Rule 4(f)(3) may be
                 24   accomplished in contravention of the laws of the foreign country.” Indeed, “service of
                 25
                      process under Rule 4(f)(3) is neither a ‘last resort’ nor ‘extraordinary relief’” and “is
                 26
                      merely one means among several which enables service of process on an international
                 27

                 28   defendant.” Id. at 1015 (quoting Forum Fin. Group, LLC v. President & Fellows of

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                  1   Harvard College, 199 F.R.D. 22, 23 (D. Me. 2001)). To avoid any doubt, the Ninth
                  2
                      Circuit clarified that “we hold that Rule 4(f)(3) is an equal means of effecting service of
                  3
                      process under the Federal Rules of Civil Procedure, and we commit to the sound
                  4

                  5   discretion of the district court the task of determining when the particularities and

                  6   necessities of a given case require alternate service of process under Rule 4(f)(3).” Id. at
                  7
                      1016.
                  8
                                Even when permitted by the Rules, “a method of service of process must also
                  9

                 10   comport with constitutional notions of due process.” Id. In other words, “the method of

                 11   service crafted by the district court must be ‘reasonably calculated, under all the
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                      circumstances, to apprise interested parties of the pendency of the action and afford them
                 13
                      an opportunity to present their objections.’” Id. at 1016–17 (quoting Mullane v. Cent.
Office Address




                 14

                 15   Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).

                 16    II.      ARGUMENT
                 17          This case revolves entirely around infringements of wA’s Intellectual Property rights
                 18
                      on the Internet via three interrelated websites—KOKOATV.NET, KOKOA.TV, and
                 19
                      VIDGROUND.COM. The owner of the Domain Names, and now the only Defendant in
                 20

                 21   this case, Tumi Max, is apparently an individual residing in Thailand. (Kellar Decl., ¶¶ 2–

                 22   3). Accordingly, and to properly and efficiently serve Defendant, wA requests that the
                 23
                      Court permit wA to serve Defendant via email pursuant to Fed. Rule Civ. Proc. 4(f)(3).
                 24
                                First, Thailand is not a signatory to the Hague Convention. See Status Table:
                 25

                 26   Hague Convention (available at https://www.hcch.net/en/instruments/conventions/status-

                 27   table/?cid=17); Mongkol Muay Thai Corp. v. JG (Thailand) Co. Ltd., Case No. 22-cv-
                 28
                      00506-BAS-KSC, 2023 WL 5599613, at *3 (S.D. Cal. Aug. 29, 2023) (“As mentioned
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                  1   above, Thailand is not a signatory to the Hague Convention.”). Thus, service on
                  2
                      Defendant via email is permitted under Rule 4(f)(3). See Id..; Kyjen Co., LLC v.
                  3
                      Individuals, Corps., Ltd. Liab. Cos., P'ships, & Uninc. Assocs. Identified on Sch. A to the
                  4

                  5   Compl., No. 23 Civ. 612 (JHR), 2023 WL 2330429, at *2 (S.D.N.Y. Mar. 2, 2023) (find

                  6   that “service by electronic means is permitted for the ... [d]efendants … located in ...
                  7
                      Thailand”); Facebook, Inc. v. Banana Ads, LLC, No. C-11-3619 YGR, 2012 WL
                  8
                      1038752, at *2 (N.D. Cal. Mar. 27, 2012) (finding alternative service by email upon
                  9

                 10   defendant in Thailand not prohibited by international agreement and authorizing such

                 11   service under Rule 4(f)(3)).
                 12
                               Second, service on Defendant by email is reasonably calculated to apprise
                 13
                      Defendant of this litigation. As mentioned above, this litigation revolves entirely around
Office Address




                 14

                 15   infringements occurring on the Internet via Defendant’s websites. Thus, emailing

                 16   Defendant at the email address he or she self-provided in connection with registering
                 17
                      those same websites is reasonably calculated to reach Defendant. Indeed, in registering
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                      the Domain Names, Defendant was required to provide NameCheap with a valid email
                 19

                 20   address, which was then required to be actively verified by Defendant by clicking a

                 21   responsive link sent to that email address. See ICANN’s Whois Verification Process
                 22
                      (available at
                 23
                      https://www.namecheap.com/support/knowledgebase/article.aspx/9305/5/icanns-whois-
                 24

                 25   verification-process/) (“When a new domain is registered, we will immediately send an

                 26   email to the Registrant email address specified for the domain.” ... “You must verify the
                 27
                      email address by clicking on the link within 15 calendar days after registration. If you do
                 28

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                  1   not verify it within 15 calendar days, the domain will be suspended, and the DNS of the
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                      domain name will be changed.”) (emphasis in original). NameCheap similarly informs
                  3
                      domain name registrants, such as Defendant, “you understand that it is important for you
                  4

                  5   to regularly monitor email sent to the email address associated with your account and

                  6   WHOIS contact information because, among other reasons, if a dispute arises regarding a
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                      domain name(s) or other Service(s), you may lose your rights to the domain name(s) or
                  8
                      your right to receive the Service(s) if you do not respond appropriately to an email sent in
                  9

                 10   conjunction therewith.” NameCheap Registration Agreement (available at

                 11   https://www.namecheap.com/legal/domains/registration-agreement/). Thus, there is
                 12
                      substantial assurances that Defendant owns and is monitoring the email address associated
                 13
                      with the Domain Names at issue herein. There is no apparent similar process for verifying
Office Address




                 14

                 15   Defendant’s physical address, which may or may not be valid.

                 16             Accordingly, because Defendant self-provided his or her email address to
                 17
                      NameCheap and verified it in the process of registering the Domain Names, service via
                 18
                      email is not only reasonably calculated to provide Defendant with actual notice of this
                 19

                 20   lawsuit but is the most likely method to achieve this end. See Facebook, 2012 WL

                 21   1038752, at *2 (holding that “service by email appears to be not only reasonably
                 22
                      calculated to provide actual notice to the Foreign Defendants but the method most likely
                 23
                      to apprise the Foreign Defendants of the action”).
                 24
                      III.      CONCLUSION
                 25

                 26          For the above reasons, wA respectfully requests that the Court permit it to serve

                 27   Defendant via email at tumi993354@protonmail.com pursuant to Fed. Rule Civ. Proc.
                 28
                      4(f)(3).
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                  1   Dated: September 13, 2023.
                  2

                  3
                                                   Respectfully submitted,
                  4                                       LEWIS ROCA ROTHGERBER CHRISTIE
                  5
                                                          LLP

                  6                                     By: /s/ Ryan D. Pont
                  7
                                                                Ryan D. Pont
                                                            Attorneys for Plaintiff Wavve Americas, Inc.
                  8

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                 13
Office Address




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